                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF TEXAS
                           MARSHALL DIVISION

FINESSE WIRELESS LLC                       §
                                           §
v.                                              CIVIL ACTION NO. 2:21-CV-00316-JRG-RSP
                                           §
AT&T MOBILITY LLC, et al                   §


             MINUTES FOR JURY SELECTION/JURY TRIAL DAY NO. 4
            HELD BEFORE U. S. DISTRICT JUDGE RODNEY GILSTRAP
                               January 12, 2023

OPEN: 08:30 AM                                                  ADJOURN:       04:57 PM

ATTORNEYS FOR PLAINTIFF:                       See attached

ATTORNEYS FOR DEFENDANTS:                      See attached

LAW CLERKS:                                    Katie Albanese
                                               Ryan Davies
                                               Samuel Riebe

COURT REPORTER:                                Shawn McRoberts, RMR, CRR

COURTROOM DEPUTY:                              Andrea Brunson, CP

    TIME                                    MINUTE ENTRY
 08:30 AM   Court opened.
 08:30 AM   Exhibits used prior day read into the record.
 08:32 AM   Jury entered the courtroom.
 08:33 AM   Continuation cross examination of Mr. James Proctor by Mr. Grinstein.
 08:59 AM   Redirect examination of Mr. James Proctor by Mr. Nelson.
 09:07 AM   Bench conference.
 09:08 AM   Bench conference concluded.
 09:08 AM   Continuation redirect examination of Mr. James Proctor by Mr. Nelson.
 09:21 AM   Recross examination of Mr. James Proctor by Mr. Grinstein.
 09:22 AM   Completion of testimony of Mr. James Proctor.
 09:22 AM   Witness sworn.
 09:23 AM   Direct examination of Stephen Becker, Ph.D. by Mr. Dacus.
 09:34 AM   Jury recessed for break.
 09:35 AM   Recess.
 09:49 AM   Court reconvened.
 09:49 AM   Jury returned to courtroom.
 09:50 AM   Continuation direct examination of Stephen Becker, Ph.D. by Mr. Dacus.
   TIME                                     MINUTE ENTRY
10:42 AM   Cross examination of Stephen Becker, Ph.D. by Ms. Fair.
11:33 AM   Redirect examination of Stephen Becker, Ph.D. by Mr. Dacus.
11:46 AM   Bench conference.
11:48 AM   Bench conference concluded.
11:48 AM   Continuation redirect examination of Stephen Becker, Ph.D. by Mr. Dacus.
11:49 AM   Recross examination of Stephen Becker, Ph.D. by Ms. Fair.
11:52 AM   Additional redirect examination of Stephen Becker, Ph.D. by Mr. Dacus.
11:53 AM   Completion of testimony of Stephen Becker, Ph.D.
11:54 AM   Defendants rested their case-in-chief.
11:54 AM   Plaintiff offered no rebuttal witnesses.
11:54 AM   Both sides rested.
11:54 AM   Court provided instructions to Jury.
11:56 AM   Jury excused for the remainder of the day to return tomorrow at 8:30 AM.
11:56 AM   Court will take up Rule 50(a) motions following lunch break.
12:00 PM   Recess for lunch break.
01:04 PM   Court reconvened.
01:04 PM   Court took up Rule 50(a) motions.
01:04 PM   Court provided instruction to the parties re: hearing of Rule 50(a) motions.
01:08 PM   Court began hearing argument on Rule 50(a) motions and made rulings as set forth
           in the record.
01:55 PM   Arguments concluded.
01:56 PM   Completion of Rule 50(a) motions hearing.
01:57 PM   Informal charge conference to be held in chambers (off the record) following recess.
01:58 PM   Recess.
04:22 PM   Court reconvened.
04:25 PM   Formal charge conference started.
04:25 PM   Ms. Xi argued for Plaintiff and Ms. Kennedy argued for Defendants.
04:56 PM   Formal charge conference completed.
04:57 PM   Court adjourned.
